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EXHIBIT A

 

 

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IN THE UNITED STATES DISTRICT COURT
FGR THE WESTERN DISTRICT OF TEXAS

AUSTIN DIvIsIoN

UMG RECoRDiNGs, INC., er al. §
Plaimiffs, §
§
vs. §

GRANDE COMMUNICATIONS § Civil Action No. l:l7-cv-365
NETWoRKs LLC §
and §
PATRIoT MEDIA coNsULTiNG, LLC, §
Defendants. §

NON-PARTY RIAA’S OBJECTIONS AND RESPONSES TO DEFENDANTS’ RULE 45
SUBPOENA FOR TESTIMONY AND DOCUMENTS

Pursuant to Federal Rules of Civil Procedure 45, non-party Recording Industry Association
of America (“RIAA”), by and through its attorneys, hereby provides the following objections to the
Rule 45 Subpoena served by counsel for Defendants on April 6, 2018.

RIAA Will confer With Defendants regarding the time, date, and location of the deposition
RIAA reserves the right to supplement or modify these Objections and Responses upon, among
other things, discovery of additional facts and materials and other developments in this action.
RIAA’s objections and responses are not intended to be, and should not be construed as, an
agreement or concurrence by RlAA With any of Defendants’ characterizations of any facts,

circumstances, or legal conclusionsl RIAA reserves all rights in connection With the subpoena

 

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OBJECTIONS AND RESPONSES T() ATTACHMENT A: DEFINITIONS
DEFINITION NO. 1:
“Recording Industry Association of America,” “RlAA,” “you,” and “your” refers to Recording
lndustry Association of America, its parents, subsidiaries, divisions, predecessors, successors,
affiliates, and any present or former agent, employee, representative, director, ofticer, or any other
person acting or purporting to act on its behalf.
RESPONSE: RIAA objects to this Definition as overbroad, unduly burdensome, not relevant to the
parties’ claims and defenses, not proportional to the needs of the case, and thus outside the scope of
discovery permitted under F ederal Rule of Civil Procedure 26, insofar as it concerns (l) parent,
subsidiary or affiliate companies or entities not otherwise related to the matters at issue in this case,
or (2) information in the sole possession, custody, or control of RIAA’s former employees,
supervisors, managers, executives, board members, officers, directors, agents and contractors RIAA
also objects to this Definition to the extent it seeks information that is not within RIAA’s possession,
custody or control, or information that is not maintained in the ordinary course ofbusiness. In addition,
RIAA further objects to this Defmition as encompassing information protected by the attorney-client
privilege, the work product doctrine, the common-interest privilege, and any other applicable privilege
or protection from disclosure.

OBJECTIONS AND RESPONSES TO TOPICS FOR EXAMINATION

MATTER FOR EXAMINATI()N NO. 1:
The processes, procedures, and methods by which Rightscorp, MarkMonitor, or other entities [that]
monitor Peer-to-Peer flle sharing networks in order to identify alleged infringers of copyrighted
works, including through use and operation of the Rightscorp System, the MarkMonitor System or
any third-party software
RESPONSE: RLAA objects to this Topic as overbroad, not relevant and not proportional to the needs

of the case, and thus exceeding the scope of discoverable matters under Federal Rule of Civil

Procedure 26. In particular, RlAA objects to this Topic to the extent it seeks testimony relating to

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technical and business information of Rightscorp, MarkMonitor, or other third-party entities that is
not within the possession, custody, or control of RIAA and/or that is obtainable more readily and with
more detail and accuracy from those third-party entities. Such testimony can be obtained from those
entities rather than imposing on RIAA the burden and expense of preparing a witness to address this
Topic. Furthermore, RIAA objects to this Topic to the extent it seeks third parties’ activities not
related to infringement of Plaintiffs’ copyrights by Grande or Patriot, or by Grande’s customers or
users, and monitoring of internet traffic or sending notices other than by Rightscorp. RIAA also
objects to this Topic as seeking information protected by the attorney-client privilege, the work
product doctrine, the common-interest privilege, and any other applicable privilege or protection from
disclosure ln particular, RIAA objects to this Topic on the ground that communications and
information responsive to this Topic will overwhelmingly, and possibly entirely, be protected from
disclosure on privilege and work product grounds, and therefore it is unduly burdensome and
harassing to require RIAA to investigate and prepare a witness to testify on this Topic. RIAA also
objects to this Topic on the ground that it does not describe with reasonable particularity the matters
on which examination is requested, as required by Federal Rule of Civil Procedure 30(b)(6). In
addition, RIAA further objects to this Topic insofar as it seeks information that is unreasonably
cumulative or duplicative of Grande’s other discovery requests (including without limitation Grande’s
subpoenas to Rightscorp and MarkMonitor), that is already in the possession, custody, or control cf
Grande’s or Grande’s counsel, that is of no greater burden for Grande to obtain than for RIAA to
obtain, or that is obtainable from some other source that is more convenient, less burdensome, or less
expensive, and/or to the extent that compliance would be unduly burdensome, expensive, or
oppressive for RIAA, which is not a party to this litigation RIAA also incorporates by reference its

Objections and Responses to Attachment A - Defmitions.

 

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In light of these objections, RIAA will not be designating a witness to testify in response to
this Topic, but RIAA understands that Grande is seeking Rule 30(b)(6) testimony from Rightscorp,
and therefore directs Grande to Rightscorp for testimony responsive to this Topic.

MATTER FOR EXAMINATION NO. 23

The capabilities and functionality of the Rightscorp System, the MarkMonitor System, or other
similar systems for monitoring and detecting Peer-to-Peer file sharing activity associated with a
particular intemet subscriber and a particular ISP, including but not limited to the ability to identify
an internet subscriber that has downloaded a copyrighted work and subsequently provide a
Rightscorp Notice or a MarkMonitor Notice or similar notice to the ISP that provides internet
service to that same internet subscriber.

RESPONSE: RlAA objects to this Topic as overbroad, not relevant and not proportional to the needs
of the case, and thus exceeding the scope of discoverable matters under Federal Rule of Civil
Procedure 26. In particular, RIAA objects to this Topic to the extent it seeks testimony relating to
technical and business information of Rightscorp, MarkMonitor, or other third-party entities that is
not within the possession, custody, or control ofRIAA and/or that is obtainable more readily and with
more detail and accuracy from those third-party entities. Such testimony can be obtained from those
entities rather than imposing on RlAA the burden and expense of preparing a Witness to address this
Topic. Furthermore, RIAA objects to this Topic to the extent it seeks third parties’ activities not
related to infringement of Plaintiffs’ copyrights by Grande or Patriot, or by Grande’s customers or
users, and monitoring of internet traffic or sending notices other than by Rightscorp. RIAA also
objects to this Topic as seeking information protected by the attorney-client privilege, the work
product doctrine, the common-interest privilege, and any other applicable privilege or protection from
disclosure In particular, RIAA objects to this Topic on the ground that communications and
information responsive to this Topic will overwhelmingly, and possibly entirely, be protected from

disclosure on privilege and work product grounds, and therefore it is unduly burdensome and

harassing to require RIAA to investigate and prepare a witness to testify on this Topic. RIAA also

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objects to this Topic on the ground that it does not describe with reasonable particularity the matters
on which examination is requested, as required by Federal Rule of Civil Procedure 30(b)(6). In
addition, RIAA further objects to this Topic insofar as it seeks information that is unreasonably
cumulative or duplicative of Grande’s other discovery requests (including without limitation Grande’s
subpoenas to Rightscorp and MarkMonitor), that is already in the possession, custody, or control of
Grande’s or Grande’s counsel, that is of no greater burden for Grande to obtain than for RIAA to
obtain, or that is obtainable from some other source that is more convenient, less burdensome, or less
expensive, and/or to the extent that compliance would be unduly burdensome, expensive, or
oppressive for RIAA, which is not a party to this litigation RLAA also incorporates by reference its
Objections and Responses to Attachment A - Defmitions.

In light of these objections, RIAA will not be designating a witness to testify in response to
this Topic, but RIAA understands that Grande is seeking Rule 30(b)(6) testimony from Rightscorp,
and therefore directs Grande to Rightscorp for testimony responsive to this Topic.

MATTER FOR EXAMINATION NO. 3:

The considerations that informed any decision(s) by the RIAA directly or on behalf of the Plaintiffs
to send and continue sending Rightscorp Notices, MarkMonitor Notices or similar notices to Grande.

RESPONSE: RIAA objects to this Topic as overbroad, not relevant and not proportional to the
needs of the case, and thus exceeding the scope of discoverable matters under Federal Rule of Civil
Procedure 26. In particular, RIAA objects to this Topic to the extent it seeks testimony relating to (l)
monitoring of internet traffic or sending notices other than by Rightscorp, and (2) technical and
business information of Rightscorp, MarkMonitor, or other third-party entities that is not within the
possession, custody, or control of RIAA and/or that is obtainable more readily and with more detail
and accuracy from those third-party entities RIAA also objects to this request as vague and undefined

with respect to the terms “considerations" and “inforrned.” RIAA further objects to this Topic as

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seeking information protected by the attorney-client privilege, the work product doctrine, the
common-interest privilege, and any other applicable privilege or protection from disclosure ln
particular, RIAA objects to this Topic on the ground that communications and information responsive
to this Topic will overwhelmingly, and possibly entirely, be protected from disclosure on privilege
and work product grounds, and therefore it is unduly burdensome and harassing to require RIAA to
investigate and prepare a witness to testify on this Topic. RIAA also objects to this Topic on the
ground that it does not describe with reasonable particularity the matters on which examination is
requested, as required by Federal Rule of Civil Procedure 30(b)(6). In addition, RIAA objects to this
Topic insofar as it seeks information that is unreasonably cumulative or duplicative of Grande’s other
discovery requests (including without limitation Grande’s subpoenas to Rightscorp and
MarkMonitor), that is already in the possession, custody, or control of Grande’s or Grande’s counsel,
that is of no greater burden for Grande to obtain than for RIAA to obtain, or that is obtainable from
some other source that is more convenient, less burdensome, or less expensive, and/or to the extent
that compliance would be unduly burdensome expensive, or oppressive for RIAA, which is not a
party to this litigation RIAA further states that it did not engage MarkMonitor relating to notices of
copyright infringement sent to Grande RIAA also incorporates by reference its Objections and
Responses to Attachment A - Def`initions.

In light of these objections, RIAA will not be designating a witness to testify in response to
this Topic.
MATTER FOR EXAMINATION NO. 4:
The considerations and negotiations that resulted in the RlAA’s engagement of Rightscorp and

MarkMonitor for purposes of sending Rightscorp Notices or MarkMonitor Notices to Grande and/or
bringing this lawsuit against Grande and Patriot.

 

 

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RESPONSE: RIAA objects to this Topic as overbroad, not relevant and not proportional to the needs
of the case, and thus exceeding the scope of discoverable matters under Federal Rule of Civil
Procedure 26. In particular, RIAA objects to this Topic to the extent it seeks testimony relating to (l)
monitoring of internet traffic or sending notices other than by Rightscorp, and (2) technical and
business information of Rightscorp or MarkMonitor that is not within the possession, custody, or
control of RLAA and/or that is obtainable more readily and with more detail and accuracy from those
third-party entities RLAA also objects to this request as vague and undefined with respect to the term
“considerations.” RIAA further objects to this Topic as seeking information protected by the attorney-
client privilege, the work product doctrine, the common-interest privilege, and any other applicable
privilege or protection from disclosure In particular, RIAA objects to this Topic on the ground that
communications and information responsive to this Topic will overwhelmingly, and possibly entirely,
be protected from disclosure on privilege and work product grounds, and therefore it is unduly
burdensome and harassing to require RIAA to investigate and prepare a witness to testify on this
Topic. RIAA also objects to this Topic on the ground that it does not describe with reasonable
particularity the matters on which examination is requested, as required by Federal Rule of Civil
Procedure 30(b)(6). In addition, RIAA objects to this Topic insofar as it seeks information that is
unreasonably cumulative or duplicative of Grande’s other discovery requests (including without
limitation Grande’s subpoenas to Rightscorp and MarkMonitor), that is already in the possession,
custody, or control of Grande’s or Grande’s counsel, that is of no greater burden for Grande to obtain
than for RIAA to obtain, or that is obtainable from some other source that is more convenient, less
burdensome, or less expensive, and/or to the extent that compliance would be unduly burdensome,

expensive, or oppressive for RIAA, which is not a party to this litigation RIAA further states that it

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did not engage MarkMonitor relating to notices of copyright infringement sent to Grande RIAA also
incorporates by reference its Objections and Responses to Attachment A - Definitions.

In light of these objections, RIAA will not be designating a witness to testify in response to
this Topic.
MATTER FOR EXAMINATION NO. 5:

All agreements and the terms thereof between the RIAA and Rightscorp relating in any way to the
claims in this lawsuit against Grande.

RESPONSE: RIAA objects to this Topic insofar as it seeks information that is unreasonably
cumulative or duplicative of Grande’s other discovery requests (including without limitation Grande’s
subpoenas to Rightscorp), that is already in the possession, custody, or control of Grande’s or
Grande’s counsel, that is of no greater burden for Grande to obtain than for RIAA to obtain, or that is
obtainable from some other source that is more convenient, less burdensome, or less expensive, and/or
to the extent that compliance would be unduly burdensome, expensive, or oppressive for RIAA, which
is not a party to this litigation. RIAA further objects to this Topic as seeking information protected
by the attorney-client privilege, the work product doctrine, the common-interest privilege, and any
other applicable privilege or protection from disclosure RIAA also incorporates by reference its
Objections and Responses to Attachment A - Definitions.

Subject to and without waiving these objections, RIAA will designate one or more persons
to testify generally as to non-privileged, discoverable information regarding the general nature of
RLAA’s engagement of Rightscorp relating to the claims in this lawsuit against Grande
MATTER FOR EXAMINATION NO. 6:

All agreements and the terms thereof between the RlAA and MarkMonitor relating in any way to
copyright infringement claims against any ISPs.

RESP()NSE: RIAA objects to this Topic as overbroad, not relevant and not proportional to the

 

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needs of the case, and thus exceeding the scope of discoverable matters under Federal Rule of Civil
Procedure 26. In particular, RIAA objects to this Topic to the extent it seeks testimony relating to
(l) monitoring of internet traffic or sending notices other than by Rightscorp and (2) technical and
business information of MarkMonitor that is not within the possession, custody, or control of RIAA
and/or that is obtainable more readily and with more detail and accuracy from MarkMonitor, RLAA
further objects to this Topic as seeking information protected by the attorney-client privilege, the
work product doctrine, the common-interest privilege, and any other applicable privilege or
protection from disclosure In addition, RIAA objects to this Topic insofar as it seeks information
that is unreasonably cumulative or duplicative of Grande’s other discovery requests (including
without limitation Grande’s subpoenas to MarkMonitor), that is already in the possession, custody,
or control of Grande’s or Grande’s counsel, that is of no greater burden for Grande to obtain than for
RIAA to obtain, or that is obtainable from some other source that is more convenient, less
burdensome, or less expensive, and/or to the extent that compliance would be unduly burdensome,
expensive, or oppressive for RlAA, which is not a party to this litigation. RIAA also incorporates
by reference its Objections and Responses to Attachment A - Definitions.

In light of these objections, RIAA will not be designating a witness to testify in response to
this Topic.
MATTER FOR EXAMINATION NO. 7:

RIAA’s knowledge regarding Grande’s alleged liability for acts of copyright infringement by
Grande Subscribers.

RESP()NSE: RIAA objects to this Topic as overbroad, not relevant and not proportional to the
needs of the case, and thus exceeding the scope of discoverable matters under Federal Rule of Civil
Procedure 26. As written, this Topic would require the RIAA to prepare a witness to testify as to

the entirety of the factual and legal issues involved in this case RIAA further objects to this Topic

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as seeking information protected by the attorney-client privilege, the work product doctrine, the
common-interest privilege, and any other applicable privilege or protection from disclosure In
particular, this Topic on its face seeks legal conclusions and opinions, which is not proper testimony
from a Rule 30(b)(6) deponent. Communications and information responsive to this Topic will
overwhelmingly, and possibly entirely, be protected from disclosure on privilege and work product
grounds, and therefore it is unduly burdensome and harassing to require RIAA to investigate and
prepare a witness to testify on this Topic. ln addition, RIAA objects to this Topic insofar as it seeks
information that is unreasonably cumulative or duplicative of Grande’s other discovery requests,
that is already in the possession, custody, or control of Grande’s or Grande’s counsel, that is of no
greater burden for Grande to obtain than for RIAA to obtain, or that is obtainable from some other
source that is more convenient, less burdensome, or less expensive, and/or to the extent that
compliance would be unduly burdensome, expensive, or oppressive for RIAA, which is not a party
to this litigation RIAA also incorporates by reference its Objections and Responses to Attachment
A - Definitions.

Subject to and without waiving these objections, RIAA Will designate one or more persons
to testify generally as to non-privileged, discoverable information regarding this Topic, other than as
to information learned through discovery obtained from Defendants in this action
MATTER FOR EXAMINATION NO. 8:

The development, testing, and evaluation of the software that embodies the Rightscorp System.

RESPONSE: RMA objects to this Topic as overbroad, not relevant and not proportional to the needs
of the case, and thus exceeding the scope of discoverable matters under Federal Rule of Civil
Procedure 26. In particular, RIAA objects to this Topic to the extent it seeks testimony relating to

technical and business information of Rightscorp that is not within the possession, custody, or control

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of RIAA and/or that is obtainable more readily and with more detail and accuracy from those third-
party entities Such testimony can be obtained from those third-party entities, rather than imposing
on RlAA the burden and expense of preparing a witness to address this Topic. RIAA further objects
to this Topic as seeking information protected by the attorney-client privilege, the work product
doctrine, the common-interest privilege, and any other applicable privilege or protection from
disclosure In particular, RIAA objects to this Topic on the ground that communications and
information responsive to this Topic will overwhelmingly, and possibly entirely, be protected from
disclosure on privilege and work product grounds, and therefore it is unduly burdensome and
harassing to require RIAA to investigate and prepare a witness to testify on this Topic. RLAA also
objects to this Topic on the ground that it does not describe with reasonable particularity the matters
on which examination is requested, as required by Federal Rule of Civil Procedure 30(b)(6). In
addition, RIAA further objects to this Topic insofar as it seeks information that is unreasonably
cumulative or duplicative of Grande’s other discovery requests (including without limitation Grande’s
subpoenas to Rightscorp), that is already in the possession, custody, or control of Grande’s or
Grande’s counsel, that is of no greater burden for Grande to obtain than for RIAA to obtain, or that is
obtainable from some other source that is more convenient, less burdensome, or less expensive, and/or
to the extent that compliance would be unduly burdensome, expensive, or oppressive for RIAA, which
is not a party to this litigation RIAA also incorporates by reference its Objections and Responses to
Attachment A - Definitions.

In light of these objections, RIAA will not be designating a witness to testify in response to
this Topic, but RIAA understands that Grande is seeking Rule 30(b)(6) testimony from Rightscorp,

and therefore directs Grande to Rightscorp for testimony responsive to this Topic.

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MATTER FOR EXAMINATION NO. 9:
The development, testing, and evaluation of the software that embodies the MarkMonitor System.
RESPONSE: RIAA objects to this Topic as overbroad, not relevant and not proportional to the
needs of the case, and thus exceeding the scope of discoverable matters under Federal Rule of Civil
Procedure 26. In particular, RIAA objects to this Topic to the extent it seeks testimony relating to
technical and business information of MarkMonitor that is not within the possession, custody, or
control of RIAA and/or that is obtainable more readily and with more detail and accuracy from
MarkMonitor. Such testimony can be obtained from MarkMonitor, rather than imposing on RIAA
the burden and expense of preparing a witness to address this Topic. RIAA also objects to this
Topic to the extent it seeks information about monitoring of internet traffic or sending notices other
than by Rightscorp. RIAA further objects to this Topic as seeking information protected by the
attorney-client privilege, the work product doctrine, the common-interest privilege, and any other
applicable privilege or protection from disclosure In addition, RIAA objects to this Topic insofar
as it seeks information that is unreasonably cumulative or duplicative of Grande’s other discovery
requests (including without limitation Grande’s subpoenas to MarkMonitor), that is already in the
possession, custody, or control of Grande’s or Grande’s counsel, that is of no greater burden for
Grande to obtain than for RIAA to obtain, or that is obtainable from some other source that is more
convenient, less burdensome, or less expensive, and/or to the extent that compliance would be
unduly burdensome, expensive, or oppressive for RIAA, which is not a party to this litigation
RIAA also incorporates by reference its Objections and Responses to Attachment A - Definitions.
In light of these objections, RIAA will not be designating a witness to testify in response to

this Topic.

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MATTER FOR EXAMINATION NO. 10:

The basis for any assertion(s) that a particular Grande Subscriber has committed copyright
infringement or infringed one of the copyrighted works belonging to any of the Plaintiffs.

RESPONSE: RIAA objects to this Topic as overbroad, not relevant and not proportional to the
needs of the case, and thus exceeding the scope of discoverable matters under F ederal Rule of Civil
Procedure 26. As written, this Topic would require the RIAA to prepare a witness to testify as to
the entirety of the factual and legal issues involved in this case RIAA further objects to this Topic
as seeking information protected by the attorney-client privilege, the work product doctrine, the
common-interest privilege, and any other applicable privilege or protection from disclosure ln
particular, this Topic on its face seeks legal conclusions and opinions, which is not proper testimony
from a Rule 30(b)(6) deponent. Communications and information responsive to this Topic will
overwhelmingly, and possibly entirely, be protected from disclosure on privilege and work product
grounds, and therefore it is unduly burdensome and harassing to require RIAA to investigate and
prepare a witness to testify on this Topic. In addition, RMA objects to this Topic insofar as it seeks
information that is unreasonably cumulative or duplicative of Grande’s other discovery requests,
that is already in the possession, custody, or control of Grande’s or Grande’s counsel, that is of no
greater burden for Grande to obtain than for RIAA to obtain, or that is obtainable from some other
source that is more convenient, less burdensome or less expensive, and/or to the extent that
compliance would be unduly burdensome, expensive, or oppressive for RIAA, which is not a party
to this litigation RIAA also incorporates by reference its Objections and Responses to Attachment
A - Definitions.

In light of these objections, RIAA will not be designating a witness to testify in response to

this Topic.

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MATTER FOR EXAMINATION NO. 11:

Any values, conditions, or other quantifiable measures that the Rightscorp System detects or utilizes
in order to identify an alleged infringer or send a Rightscorp Notice.

RESPONSE: RIAA objects to this Topic as overbroad, not relevant and not proportional to the needs
of the case, and thus exceeding the scope of discoverable matters under Federal Rule of Civil
Procedure 26. In particular, RIAA objects to this Topic to the extent it seeks testimony relating to
technical and business information of Rightscorp that is not within the possession, custody, or control
of RIAA and/or that is obtainable more readily and with more detail and accuracy from Rightscorp,
Such testimony can be obtained from Rightscorp, rather than imposing on RIAA the burden and
expense of preparing a witness to address this Topic. RIAA further objects to this Topic as seeking
information protected by the attorney-client privilege, the work product doctrine, the common-interest
privilege, and any other applicable privilege or protection from disclosure In particular, RIAA
objects to this Topic on the ground that communications and information responsive to this Topic will
overwhelmingly, and possibly entirely, be protected from disclosure on privilege and work product
grounds, and therefore it is unduly burdensome and harassing to require RlAA to investigate and
prepare a witness to testify on this Topic. RlAA also objects to this Topic on the ground that it does
not describe with reasonable particularity the matters on which examination is requested, as required
by Federal Rule of Civil Procedure 30(b)(6). In addition, RIAA further objects to this Topic insofar
as it seeks information that is unreasonably cumulative or duplicative of Grande’s other discovery
requests (including without limitation Grande’s subpoenas to Rightscorp), that is already in the
possession, custody, or control of Grande’s or Grande’s counsel, that is of no greater burden for
Grande to obtain than for RIAA to obtain, or that is obtainable from some other source that is more
convenient, less burdensome, or less expensive, and/or to the extent that compliance would be unduly

burdensome, expensive, or oppressive for RlAA, which is not a party to this litigation RIAA also

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incorporates by reference its Objections and Responses to Attachment A - Definitions.

In light of these objections, RIAA will not be designating a witness to testify in response to
this Topic, but RIAA understands that Grande is seeking Rule 30(b)(6) testimony from Rightscorp,
and therefore directs Grande to Rightscorp for testimony responsive to this Topic.

MATTER FOR EXAMINATION NO. 1;:_

Any values, conditions, or other quantifiable measures that the MarkMonitor System detects or
utilizes in order to identify an alleged infringer or send a MarkMonith Notice.

RESPONSE: RIAA objects to this Topic as overbroad, not relevant and not proportional to the
needs of the case, and thus exceeding the scope of discoverable matters under F ederal Rule of Civil
Procedure 26. In particular, RLAA objects to this Topic to the extent it seeks testimony relating to
technical and business information of MarkMonitor that is not within the possession, custody, or
control of RIAA and/or that is obtainable more readily and with more detail and accuracy from
MarkMonitor. Such testimony can be obtained from MarkMonitor, rather than imposing on RIAA
the burden and expense of preparing a witness to address this Topic. RIAA also objects to this
Topic to the extent it seeks information relating to monitoring of internet trach or sending notices
other than by Rightscorp, RIAA further objects to this Topic as seeking information protected by
the attorney-client privilege, the work product doctrine, the common-interest privilege, and any
other applicable privilege or protection from disclosure In addition, RIAA objects to this Topic
insofar as it seeks information that is unreasonably cumulative or duplicative of Grande’s other
discovery requests (including without limitation Grande’s subpoenas to MarkMonitor), that is
already in the possession, custody, or control of Grande’s or Grande’s counsel, that is of no greater
burden for Grande to obtain than for RIAA to obtain, or that is obtainable from some other source
that is more convenient, less burdensome, or less expensive, and/or to the extent that compliance

would be unduly burdensome, expensive, or oppressive for RIAA, which is not a party to this

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litigation RIAA also incorporates by reference its Objections and Responses to Attachment A -
Definitions.

In light of these objections, RIAA will not be designating a witness to testify in response to
this Topic.
MATTER FOR EXAMINATION NO. 13:
RlAA’s knowledge of actual, potential, or alleged flaws, weaknesses, deficiencies inefficiencies,
errors, lack or absence of features or functionality, performance issues, modifications or
improvements needed, or any other problem associated with the Rightscorp System and Rightscorp
Notices, including but not limited to the Rightscorp System’s ability to detect and identify activity
associated with copyright infringement.
RESPONSE: RIAA objects to this Topic as overbroad, not relevant and not proportional to the needs
of the case, and thus exceeding the scope of discoverable matters under Federal Rule of Civil
Procedure 26. In particular, RIAA objects to this Topic to the extent it seeks testimony relating to
technical and business information of Rightscorp that is not within the possession, custody, or control
of RIAA and/or that is obtainable more readily and with more detail and accuracy from Rightscorp.
Such testimony can be obtained from Rightscorp, rather than imposing on RIAA the burden and
expense of preparing a witness to address this Topic. RIAA further objects to this Topic as seeking
information protected by the attorney-client privilege, the work product doctrine, the common-interest
privilege, and any other applicable privilege or protection from disclosure In particular, RIAA
objects to this Topic on the ground that communications and information responsive to this Topic will
overwhelmingly, and possibly entirely, be protected from disclosure on privilege and work product
grounds, and therefore it is unduly burdensome and harassing to require RIAA to investigate and
prepare a witness to testify on this Topic. RIAA also objects to this Topic on the ground that it does

not describe with reasonable particularity the matters on Which examination is requested, as required

by Federal Rule of Civil Procedure 30(b)(6). In addition, RIAA further objects to this Topic insofar

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as it seeks information that is unreasonably cumulative or duplicative of Grande’s other discovery
requests (including without limitation Grande’s subpoenas to Rightscorp), that is already in the
possession, custody, or control of Grande’s or Grande’s counsel, that is of no greater burden for
Grande to obtain than for RIAA to obtain, or that is obtainable from some other source that is more
convenient, less burdensome, or less expensive, and/or to the extent that compliance would be unduly
burdensome, expensive, or oppressive for RlAA, which is not a party to this litigation RIAA also
incorporates by reference its Objections and Responses to Attachment A - Definitions.

In light of these objections, RIAA will not be designating a witness to testify in response to
this Topic, but RIAA understands that Grande is seeking Rule 30(b)(6) testimony from Rightscorp,
and therefore directs Grande to Rightscorp for testimony responsive to this Topic.

MATTER FOR EXAMINATION NO. 14:

RIAA’s knowledge of actual, potential, or alleged flaws, weaknesses, deficiencies, inefficiencies,
errors, lack or absence of features or functionality, performance issues, modifications or
improvements needed, or any other problem associated with the MarkMonitor System and
MarkMonitor Notices, including but not limited to the MarkMonitor System’s ability to detect and
identify activity associated with copyright infringement

RESP()NSE: RlAA objects to this Topic as overbroad, not relevant and not proportional to the
needs of the case, and thus exceeding the scope of discoverable matters under Federal Rule of Civil
Procedure 26. In particular, RIAA objects to this Topic to the extent it seeks testimony relating to
technical and business information of MarkMonitor that is not within the possession, custody, or
control of RIAA and/or that is obtainable more readily and with more detail and accuracy from
MarkMonitor. Such testimony can be obtained from MarkMonitor, rather than imposing on RIAA
the burden and expense of preparing a witness to address this Topic. RlAA also objects to this

Topic to the extent it seeks testimony relating to monitoring of internet traffic or sending notices

other than by Rightscorp. RIAA hirther objects to this Topic as seeking information protected by

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the attorney-client privilege, the work product doctrine, the common-interest privilege, and any
other applicable privilege or protection from disclosure In addition, RIAA objects to this Topic
insofar as it seeks information that is unreasonably cumulative or duplicative of Grande’s other
discovery requests (including without limitation Grande’s subpoenas to MarkMonitor), that is
already in the possession, custody, or control of Grande’s or Grande’s counsel, that is of no greater
burden for Grande to obtain than for RIAA to obtain, or that is obtainable from some other source
that is more convenient, less burdensome, or less expensive, and/or to the extent that compliance
would be unduly burdensome expensive, or oppressive for RIAA, which is not a party to this
litigation RIAA also incorporates by reference its Objections and Responses to Attachment A -
Definitions.

In light of these objections, RIAA will not be designating a witness to testify in response to
this Topic.
MATTER FOR EXAMINATION NO. 15:

RlAA’s knowledge of Rightscorp Notices that were inaccurate, incomplete, or otherwise improperly
sent to a recipient ISP.

RESPONSE: RLAA objects to this Topic as overbroad, not relevant and not proportional to the needs
of the case, and thus exceeding the scope of discoverable matters under Federal Rule of Civil
Procedure 26. In particular, RIAA objects to this Topic to the extent it seeks testimony relating to
technical and business information of Rightscorp that is not within the possession, custody, or control
of RIAA and/or that is obtainable more readily and with more detail and accuracy from Rightscorp,
Such testimony can be obtained from Rightscorp, rather than imposing on RIAA the burden and
expense of preparing a witness to address this Topic. RIAA further objects to this Topic as seeking
information protected by the attorney-client privilege, the work product doctrine, the common-interest

privilege, and any other applicable privilege or protection from disclosure In particular, RIAA

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objects to this Topic on the ground that communications and information responsive to this Topic will
overwhelmingly, and possibly entirely, be protected from disclosure on privilege and work product
grounds, and therefore it is unduly burdensome and harassing to require RIAA to investigate and
prepare a witness to testify on this Topic. RIAA also objects to this Topic on the ground that it does
not describe with reasonable particularity the matters on which examination is requested, as required
by Federal Rule of Civil Procedure 30(b)(6). ln addition, RlAA further objects to this Topic insofar
as it seeks information that is unreasonably cumulative or duplicative of Grande’s other discovery
requests (including without limitation Grande’s subpoenas to Rightscorp), that is already in the
possession, custody, or control of Grande’s or Grande’s counsel, that is of no greater burden for
Grande to obtain than for RIAA to obtain, or that is obtainable from some other source that is more
convenient, less burdensome or less expensive, and/or to the extent that compliance would be unduly
burdensome, expensive, or oppressive for RIAA, which is not a party to this litigation RIAA further
states that it is unware of “Rightscorp Notices that were inaccurate, incomplete, or otherwise
improperly sent to a recipient ISP.” RIAA also incorporates by reference its Objections and
Responses to Attachment A - Definitions.

In light of these objections, RIAA will not be designating a witness to testify in response to
this Topic, but RIAA understands that Grande is seeking Rule 30(b)(6) testimony from Rightscorp,
and therefore directs Grande to Rightscorp for testimony responsive to this Topic.

MATTER FOR EXAMINATION NO. 16:

RlAA’s knowledge of MarkMonitor Notices that were inaccurate, incomplete, or otherwise
improperly sent to a recipient ISP.

RESPONSE: RIAA objects to this Topic as overbroad, not relevant and not proportional to
the needs of the case, and thus exceeding the scope of discoverable matters under F ederal Rule of

Civil Procedure 26. In particular, RlAA objects to this Topic to the extent it seeks testimony

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relating to technical and business information of MarkMonitor that is not within the possession,
custody, or control of RIAA and/or that is obtainable more readily and with more detail and
accuracy from MarkMonitor. Such testimony can be obtained from MarkMonitor, rather than
imposing on RIAA the burden and expense of preparing a witness to address this Topic. RIAA also
object to this Topic to the extent it seeks information relating to monitoring of internet traffic or
sending notices other than by Rightscorp, RIAA further objects to this Topic as seeking information
protected by the attorney-client privilege, the work product doctrine, the common-interest privilege,
and any other applicable privilege or protection from disclosure In addition, RIAA objects to this
Topic insofar as it seeks information that is unreasonably cumulative or duplicative of Grande’s
other discovery requests (including without limitation Grande’s subpoenas to MarkMonitor), that is
already in the possession, custody, or control of Grande’s or Grande’s counsel, that is of no greater
burden for Grande to obtain than for RIAA to obtain, or that is obtainable from some other source
that is more convenient, less burdensome, or less expensive, and/or to the extent that compliance
would be unduly burdensome, expensive, or oppressive for RIAA, which is not a party to this
litigation RIAA also incorporates by reference its Objections and Responses to Attachment A -
Definitions.

ln light of these objections, RIAA will not be designating a witness to testify in response to
this Topic.
MATTER FOR EXAMINATION NO. 17:

RlAA’s receipt of communications from ISPs identifying legal and/or factual issues with Rightscorp
Notices and/or the Rightscorp System.

RESPONSE: RIAA objects to this Topic as overbroad, not relevant and not proportional to the needs
of the case, and thus exceeding the scope of discoverable matters under Federal Rule of Civil

Procedure 26. In particular, RIAA objects to this Topic to the extent it seeks testimony relating to (l)

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third parties’ activities not related to infringement of Plaintiffs’ copyrights by Grande or Patriot, or by
Grande’s customers or users, and (2) technical and business information of Rightscorp that is not
within the possession, custody, or control of RIAA and/or that is obtainable more readily and with
more detail and accuracy from Rightscorp. RIAA further objects to this Topic as seeking information
protected by the attorney-client privilege the work product doctrine the common-interest privilege
and any other applicable privilege or protection from disclosure In particular, RIAA objects to this
Topic on the ground that communications and information responsive to this Topic will
overwhelmingly, and possibly entirely, be protected from disclosure on privilege and work product
grounds, and therefore it is unduly burdensome and harassing to require RIAA to investigate and
prepare a witness to testify on this Topic. RIAA also objects to this Topic on the ground that it does
not describe with reasonable particularity the matters on which examination is requested, as required
by Federal Rule of Civil Procedure 30(b)(6). In addition, RIAA further objects to this Topic insofar
as it seeks information that is unreasonably cumulative or duplicative of Grande’s other discovery
requests (including without limitation Grande’s subpoenas to Rightscorp), that is already in the
possession, custody, or control of Grande’s or Grande’s counsel, that is of no greater burden for
Grande to obtain than for RIAA to obtain, or that is obtainable from some other source that is more
convenient, less burdensome or less expensive and/or to the extent that compliance would be unduly
burdensome expensive or oppressive for RIAA, which is not a party to this litigation RlAA also
incorporates by reference its Objections and Responses to Attachment A - Definitions. RIAA further
states that it is unaware of receiving any communications responsive to this Topic.

In light of the foregoing, RIAA will not be designating a witness to testify in response to this

Topic.

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MATTER FOR EXAMINATION NO. 18:

RIAA’s receipt of communications from ISPs identifying legal and/or factual issues with
MarkMonitor Notices and/or the MarkMonitor System.

RESPONSE: RIAA objects to this Topic as overbroad, not relevant and not proportional to the
needs of the case and thus exceeding the scope of discoverable matters under Federal Rule of Civil
Procedure 26. In particular, RIAA objects to this Topic to the extent it seeks testimony relating to
(l) third parties’ activities not related to infringement of Plaintiffs’ copyrights by Grande or Patriot,
or by Grande’s customers or users; (2) monitoring of internet traffic or sending notices other than by
Rightscorp; and (3) technical and business information of MarkMonitor that is not Within the
possession, custody, or control of RIAA and/or that is obtainable more readily and with more detail
and accuracy from MarkMonitor. RIAA further objects to this Topic as seeking information
protected by the attorney-client privilege the work product doctrine the common-interest privilege
and any other applicable privilege or protection from disclosure ln particular, RIAA objects to this
Topic on the ground that communications and information responsive to this Topic will
overwhelmingly, and possibly entirely, be protected from disclosure on privilege and work product
grounds, and therefore it is unduly burdensome and harassing to require RIAA to investigate and
prepare a witness to testify on this Topic. RIAA also objects to this Topic on the ground that it does
not describe with reasonable particularity the matters on which examination is requested, as required
by Federal Rule of Civil Procedure 30(b)(6). In addition, RIAA further objects to this Topic insofar
as it seeks information that is unreasonably cumulative or duplicative of Grande’s other discovery
requests (including without limitation Grande’s subpoenas to MarkMonitor), that is already in the
possession, custody, or control of Grande’s or Grande’s counsel, that is of no greater burden for
Grande to obtain than for RIAA to obtain, or that is obtainable from some other source that is more

convenient, less burdensome or less expensive and/or to the extent that compliance would be

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unduly burdensome expensive or oppressive for RIAA, which is not a party to this litigation

RIAA also incorporates by reference its Objections and Responses to Attachment A - Definitions.
In light of the foregoing, RIAA will not be designating a witness to testify in response to this

Topic.

MATTER FOR EXAMINATION N(). 19:

RIAA’s actions or efforts to address, attend to, or remedy actual, potential, or alleged issues or
problems with the Rightscorp System or Rightscorp Notices,

RESPONSE: RIAA objects to this Topic as overbroad, not relevant and not proportional to the
needs of the case and thus exceeding the scope of discoverable matters under F ederal Rule of Civil
Procedure 26. In particular, RIAA objects to this Topic to the extent it seeks testimony relating to
(l) third parties’ activities not related to infringement of Plaintiffs’ copyrights by Grande or Patriot,
or by Grande’s customers or users, and (2) technical and business information of Rightscorp that is
not within the possession, custody, or control of RIAA and/or that is obtainable more readily and
with more detail and accuracy from Rightscorp. RIAA further objects to this Topic as seeking
information protected by the attorney-client privilege the work product doctrine the common-
interest privilege and any other applicable privilege or protection from disclosure In particular,
RIAA objects to this Topic on the ground that communications and information responsive to this
Topic will overwhelmingly, and possibly entirely, be protected from disclosure on privilege and
work product grounds, and therefore it is unduly burdensome and harassing to require RIAA to
investigate and prepare a witness to testify on this Topic. RIAA also objects to this Topic on the
ground that it does not describe with reasonable particularity the matters on which examination is
requested, as required by Federal Rule of Civil Procedure 30(b)(6). In addition, RIAA further
objects to this Topic insofar as it seeks information that is unreasonably cumulative or duplicative of

Grande’s other discovery requests (including without limitation Grande’s subpoenas to Rightscorp),

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that is already in the possession, custody, or control of Grande’s or Grande’s counsel, that is of no
greater burden for Grande to obtain than for RIAA to obtain, or that is obtainable from some other
source that is more convenient, less burdensome or less expensive and/or to the extent that
compliance would be unduly burdensome expensive or oppressive for RIAA, which is not a party
to this litigation RIAA also incorporates by reference its Objections and Responses to Attachment
A - Definitions. RIAA further states that it is unaware of having undertaken any “actions or efforts
to address, attend to, or remedy actual, potential, or alleged issues or problems with the Rightscorp
System or Rightscorp Notices.”

In light of the foregoing, RIAA will not be designating a witness to testify in response to this
Topic.
MATTER FOR EXAMINATION NO. 202

RLAA’s actions or efforts to address, attend to, or remedy actual, potential, or alleged issues or
problems with the MarkMonitor System or MarkMonitor Notices

RESPONSE: RIAA objects to this Topic as overbroad, not relevant and not proportional to the
needs of the case and thus exceeding the scope of discoverable matters under Federal Rule of Civil
Procedure 26. In particular, RLAA objects to this Topic to the extent it seeks testimony relating
to(l) third parties’ activities not related to infringement of Plaintiffs’ copyrights by Grande or
Patriot, or by Grande’s customers or users; (2) monitoring of internet traffic or sending notices other
than by Rightscorp; and (3) technical and business information of MarkMonitor that is not within
the possession, custody, or control of RIAA and/or that is obtainable more readily and with more
detail and accuracy from MarkMonitor. RIAA harther objects to this Topic as seeking information
protected by the attorney-client privilege the work product doctrine the common-interest privilege
and any other applicable privilege or protection from disclosure In particular, RIAA objects to this

Topic on the ground that communications and information responsive to this Topic will

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overwhelmingly, and possibly entirely, be protected from disclosure on privilege and work product
grounds, and therefore it is unduly burdensome and harassing to require RIAA to investigate and
prepare a witness to testify on this Topic. RIAA also objects to this Topic on the ground that it does
not describe with reasonable particularity the matters on which examination is requested, as required
by Federal Rule ofCivil Procedure 30(b)(6). In addition, RIAA further objects to this Topic insofar
as it seeks information that is unreasonably cumulative or duplicative of Grande’s other discovery
requests (including without limitation Grande’s subpoenas to Rightscorp), that is already in the
possession, custody, or control of Grande’s or Grande’s counsel, that is of no greater burden for
Grande to obtain than for RIAA to obtain, or that is obtainable from some other source that is more
convenient, less burdensome or less expensive and/or to the extent that compliance would be
unduly burdensome expensive or oppressive for RIAA, which is not a party to this litigation
RIAA also incorporates by reference its Objections and Responses to Attachment A - Definitions.
In light of the foregoing, RIAA will not be designating a witness to testify in response to this
Topic.
MATTER FOR EXAMINATION NO. 2_;:_
All business relationships and associations between RIAA and any of the Plaintiffs.
RESPONSE: RIAA objects to this Topic as vague overbroad, not relevant and not proportional to
the needs of the case and thus exceeding the scope of discoverable matters under Federal Rule of
Civil Procedure 26. In particular, given that RIAA is the trade association for the sound recording
industry, the Topic on its face asks RIAA to designate a witness to speak to the entirety of RIAA’s
business and operations RIAA further objects to this Topic as seeking information protected by the
attorney-client privilege the work product doctrine the common-interest privilege and any other

applicable privilege or protection from disclosure RIAA also incorporates by reference its

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Objections and Responses to Attachment A - Definitions.

In light of these objections, RIAA will not be designating a witness to testify in response to

this Topic.

MATTER FOR EXAMINATION NO. §§

RIAA’s engagement of Rightscorp, including communications and negotiations with Rightscorp.
RESPONSE: RIAA objects to this Topic insofar as it seeks information that is unreasonably
cumulative or duplicative of Grande’s other discovery requests (including without limitation Grande’s
subpoenas to Rightscorp), that is already in the possession, custody, or control of Grande’s or
Grande’s counsel, that is of no greater burden for Grande to obtain than for RIAA to obtain, or that is
obtainable from some other source that is more convenient, less burdensome or less expensive and/or
to the extent that compliance would be unduly burdensome expensive or oppressive for RIAA, which
is not a party to this litigation RIAA further objects to this Topic as seeking information protected
by the attorney-client privilege the work product doctrine the common-interest privilege andany
other applicable privilege or protection from disclosure RlAA also incorporates by reference its
Objections and Responses to Attachment A - Definitions.

Subject to and without waiving these objections, RIAA will designate one or more persons
to testify generally as to non-privileged, discoverable information regarding the general nature of
RlAA’s engagement of Rightscorp relating to the claims in this lawsuit against Grande
MATTER FOR EXAMINATION N O. J2_1_5_:

RL¢\A’s communications regarding Rightscorp’s technology, including internal communications and
external communications

RESPONSE: RIAA objects to this Topic insofar as it seeks information that is unreasonably
cumulative or duplicative of Grande’s other discovery requests (including without limitation Grande’s

subpoenas to Rightscorp), that is already in the possession, custody, or control of Grande’s or

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Grande’s counsel, that is of no greater burden for Grande to obtain than for RIAA to obtain, or that is
obtainable from some other source that is more convenient, less burdensome or less expensive and/or
to the extent that compliance would be unduly burdensome expensive or oppressive for RIAA, which
is not a party to this litigation RIAA further objects to this Topic as seeking information protected
by the attorney-client privilege the work product doctrine the common-interest privilege and any
other applicable privilege or protection from disclosure RIAA also incorporates by reference its
Objections and Responses to Attachment A - Definitions.

In light of these objections, RIAA will not be designating a witness to testify in response to
this Topic, but RIAA understands that Grande is seeking Rule 30(b)(6) testimony from Rightscorp,
and therefore directs Grande to Rightscorp for testimony responsive to this Topic.

MATTER FOR EXAMINATION NO. 23_;

All payments or consideration paid by or on behalf of the RIAA to Rightscorp,

RESPONSE: RIAA objects to this Topic insofar as it seeks information that is unreasonably
cumulative or duplicative of Grande’s other discovery requests (including without limitation Grande’s
subpoenas to Rightscorp), that is already in the possession, custody, or control of Grande’s or
Grande’s counsel, that is of no greater burden for Grande to obtain than for RIAA to obtain, or that is
obtainable from some other source that is more convenient, less burdensome or less expensive and/or
to the extent that compliance would be unduly burdensome expensive or oppressive for RIAA, which
is not a party to this litigation RlAA further objects to this Topic as seeking information protected
by the attorney-client privilege the work product doctrine the common-interest privilege and any
other applicable privilege or protection from disclosure RlAA also incorporates by reference its

Objections and Responses to Attachment A - Definitions.

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Subject to and without waiving these objections, RlAA will designate one or more persons
to testify generally as to non-privileged, discoverable information responsive to this Topic and that
is regarding RIAA’s engagement of Rightscorp relating to the claims in this lawsuit against Grande
MATTER FOR EXAMINATION NO. 25 :

The substance of the documents produced in response to Attachment B.

RESPONSE: RIAA objects to this Topic as overbroad, not relevant and not proportional to the
needs of the case and thus exceeding the scope of discoverable matters under Federal Rule of Civil
Procedure 26. RIAA further objects to this Topic as seeking information protected by the attomey-
client privilege the work product doctrine the common-interest privilege and any other applicable
privilege or protection from disclosure In addition, RLAA objects to this Topic insofar as it seeks
information that is unreasonably cumulative or duplicative of Defendants’ written discovery
requests, that is already in the possession, custody, or control of Defendants or Defendants’ counsel,
that is of no greater burden for Defendants to obtain than for RIAA to obtain, or that is obtainable
from some other source that is more convenient, less burdensome or less expensive and/or to the
extent that compliance would be unduly burdensome expensive or oppressive RIAA also
incorporates by reference its Objections and Responses to Attachment A - Definitions.

In light of these objections, RIAA will not designate a specific person or persons on this
Topic.

MATTER FOR EXAMINATI()N NO. B

The efforts and actions taken by RIAA in order to identify and locate responsive documents and
prepare a witness to provide testimony in response to this subpoena.

RESPONSE: RlAA objects to this Topic as overbroad, not relevant and not proportional to the
needs of the case and thus exceeding the scope of discoverable matters under F ederal Rule of Civil

Procedure 26. RIAA further objects to this Topic as seeking information protected by the attorney-

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client privilege the work product doctrine the common-interest privilege and any other applicable
privilege or protection from disclosure RIAA also objects to this Topic on the ground that it does
not describe with reasonable particularity the matters on which examination is requested, as required
by Federal Rule of Civil Procedure 30(b)(6). In addition, RIAA further objects to this Topic insofar
as it seeks information that is unreasonably cumulative or duplicative of Defendants’ written
discovery requests, that is already in the possession, custody, or control of Defendants or
Defendants’ counsel, that is of no greater burden for Defendants to obtain than for RIAA to obtain,
or that is obtainable from some other source that is more convenient, less burdensome or less
expensive and/or to the extent that compliance would be unduly burdensome expensive or
oppressive RIAA also incorporates by reference its Objections and Responses to Attachment A -
Definitions.

Subject to and without waiving these objections, RIAA will designate one or more persons
to testify generally as to non-privileged, discoverable information regarding RIAA’s search for
documents responsive to this subpoena

OBJECTIONS AND RESPONSES TO ATTACHMENT B: DEFINITIONS AND
INSTRUCTIONS

 

DEFINITION NO. 1:

“Recording Industry Association of America,” “RIAA,” “you,” and “your” refers to Recording
Industry Association of America, its parents, subsidiaries, divisions, predecessors, successors,
affiliates, and any present or former agent, employee representative director, officer, or any other
person acting or purporting to act on its behalf.

RESPONSE: RIAA objects to this Definition as overbroad, unduly burdensome not relevant to the
parties’ claims and defenses, not proportional to the needs of the case, and thus outside the scope of

discovery permitted under Federal Rule of Civil Procedure 26, insofar as it concerns (l) parent,

subsidiary or affiliate companies or entities not otherwise related to the matters at issue in this case

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or (2) information in the sole possession, custody, or control of RIAA’s former employees,
supervisors, managers, executives, board members, officers, directors, agents and contractors RIAA
also objects to this Definition to the extent it seeks information that is not within RIAA’s possession,
custody or control, or information that is not maintained in the ordinary course of business In addition,
RIAA further objects to this Definition as encompassing information protected by the attorney-client
privilege the work product doctrine the common-interest privilege and any other applicable privilege
or protection from disclosure

INSTRUCTION NO. 1:

 

You are to search for all documents and things within your possession, custody, or control, wherever
located, including without limitation any documents or things placed in storage facilities or within
the possession, custody, or control of any agent, employee representative attorney, investigator, or
other person acting or purporting to act on your behalf (whether located at his or her residence or
place of business) to fully respond to the requests

RESPONSE: RIAA objects to this Instruction as overbroad, unduly burdensome not relevant to the
parties’ claims and defenses, not proportional to the needs of the case and thus outside the scope of
discovery permitted under Federal Rule of Civil Procedure 26, insofar as it purports RIAA to search
for and produce (l) documents in locations that are not reasonably accessible and (2) documents in
the sole possession, custody, or control of RIAA’s former employees, supervisors, managers,
executives, board members, officers, directors, agents and contractors RIAA also objects to this
Definition to the extent it seeks information that is not within RIAA’s possession, custody or control,
or information that is not maintained in the ordinary course of business In addition, RIAA further
objects to this Definition as encompassing information protected by the attorney-client privilege the

work product doctrine the common-interest privilege and any other applicable privilege or protection

from disclosure

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INSTRUCTION NO. 4:

If a privilege or immunity is claimed with respect to any document or thing required by these
requests, you shall provide a “Privilege Log” pursuant to Rule 26(b)(5) of the Federal Rules ofCivil
Procedure including the following information regarding such document:

(A) the identification of the document by author and title or, if untitled, the general nature of the
document (e.g. memorandum, handwritten note report, etc.);

(B) the date on which the document was created;

(C) a brief summary of the subject matter to which the document relates;

(D) the identities of persons who received the documents;

(E) the precise legal grounds upon which the claim of privilege or immunity is made;

and

(F) any further information necessary for Grande to assess the applicability of the

privilege

RESPONSE: RlAA objects to this Instruction as overbroad, unduly burdensome not relevant to the
parties’ claims and defenses, not proportional to the needs of the case and thus outside the scope of
discovery permitted under Federal Rule of Civil Procedure 26. Given that documents responsive to
this subpoena will overwhelmingly, and possibly entirely, be protected from disclosure on privilege
and work product grounds, it is unduly burdensome and harassing to require RIAA, which is not a
party to this litigation, to prepare and submit a privilege log identifying all such withheld documents

INSTRUCTION NO. 5:

 

You should label the documents produced to correspond to the document request to which the
documents are responsive

RESPONSE: RIAA objects to this lnstruction as inconsistent with the obligations of Federal Rules
of Civil Procedure 26, 34 and 45. RIAA will produce documents as they are maintained in the usual
course of RIAA’s business

INSTRUCTION N(). 6:

If a document requested was, but is no longer, in your possession, custody, or control, you should
state whether the document: (l) is missing or lost; (2) has been destroyed; (3) has been transferred,
voluntarily or involuntarily, to others; or (4) has otherwise been disposed of. F or each instance
explain the circumstances surrounding such disposition the date or approximate date of such
disposition and the names and residences and business addresses of those persons with knowledge
of such circumstances

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RESPONSE: RIAA objects to this Instruction as unduly burdensome harassing, and inconsistent
with the obligations of F ederal Rules of Civil Procedure 26, 34 and 45 .

OBJECTIONS AND RESPONSES TO REOUESTS FOR PRODUCTION

REOUEST FOR PRODUCTI()N NO. 1:

Documents and communications that refer or relate to agreements between you and any Plaintiff that
pertain to Grande Patriot, or this lawsuit, including but not limited to any agreement relating to use
of evidence in a legal proceeding and any agreements relating to payment or remuneration derived
from an award obtained by the RIAA or Plaintiffs in a legal proceeding

RESPONSE: RlAA objects to this Request as overbroad, not relevant and not proportional to the
needs of the case and thus exceeding the scope of discoverable matters under Federal Rule of Civil
Procedure 26. RIAA further objects to this Request as seeking information protected by the
attorney-client privilege the work product doctrine the common-interest privilege and any other
applicable privilege or protection from disclosure In particular, RIAA objects to this Request on
the ground that documents and information responsive to this Request will overwhelmingly, and
possibly entirely, be protected from disclosure on privilege and work product grounds, and therefore
it is unduly burdensome and harassing to require RIAA, which is not a party to this litigation to
search for documents responsive to this Request. RIAA also incorporates by reference its

Objections and Responses to Attachment B - Definitions and Instructions.

In light of these objections, RIAA will not produce documents responsive to this Request.

REOUEST FOR PRODUCTION NO. 2:

Documents that refer or relate to communications between you and any of the Plaintiffs concerning
Grande Patriot, and/or Grande Subscribers.

RESPONSE: RIAA objects to this Request as overbroad, not relevant and not proportional to the
needs of the case and thus exceeding the scope of discoverable matters under Federal Rule of Civil

Procedure 26. RIAA further objects to this Request as seeking information protected by the
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attorney-client privilege the work product doctrine the common-interest privilege and any other
applicable privilege or protection from disclosure In particular, RIAA objects to this Request on
the ground that documents and information responsive to this Request will overwhelmingly, and
possibly entirely, be protected from disclosure on privilege and work product grounds, and therefore
it is unduly burdensome and harassing to require RIAA, which is not a party to this litigation to
search for documents responsive to this Request. RIAA also incorporates by reference its
Objections and Responses to Attachment B _ Definitions and Instructions.

In light of these objections, RIAA will not produce documents responsive to this Request.

REOUEST F()R PRODUCTION NO. 3:

Documents that refer or relate to the considerations that informed the decision(s) for sending notices
of alleged copyright infringement such as Rightscorp Notices or MarkMonitor Notices to Grande

RESPONSE: RIAA objects to this Request as overbroad, not relevant and not proportional to the
needs of the case and thus exceeding the scope of discoverable matters under Federal Rule of Civil
Procedure 26. In particular, RIAA objects to this Request to the extent it seeks documents relating
to (l) monitoring of internet traffic or sending notices other than by Rightscorp, and (2) technical
and business information of Rightscorp or MarkMonitor, or other third parties, that is not within the
possession, custody, or control of RIAA and/or that is obtainable more readily and with more detail
and accuracy from those third-party entities RIAA also objects to this Request as vague and
undefined with respect to the terms “considerations” and “informed.” RIAA further objects to this
Request as seeking information protected by the attorney-client privilege the work product doctrine
the common-interest privilege and any other applicable privilege or protection from disclosure In
particular, RIAA objects to this Request on the ground that documents and information responsive
to this Request will overwhelmingly, and possibly entirely, be protected from disclosure on

privilege and work product grounds, and therefore it is unduly burdensome and harassing to require

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RIAA, which is not a party to this litigation to search for documents responsive to this Request.
RIAA also incorporates by reference its Objections and Responses to Attachment B - Definitions

and Instructions.

In light of these objections, RIAA will not produce documents responsive to this Request.

REOUEST FOR PRODUCTION NO. 4:
Documents that refer or relate to the ability of the Rightscorp System, or the MarkMonitor System,
or similar systems that purport to monitor and extract information from Peer-to-Peer file sharing
networks to observe or detect specific instances of copyright infringement by subscribers of iSPs
over Peer-to-Peer file sharing networks
RESPONSE: RIAA objects to this Request as overbroad, not relevant and not proportional to the
needs of the case and thus exceeding the scope of discoverable matters under Federal Rule of Civil
Procedure 26. ln particular, RlAA objects to this Request to the extent it seeks documents relating
to ( 1) third parties’ activities not related to infringement of Plaintiffs’ copyrights by Grande or
Patriot, or by Grande’s customers or users; (2) monitoring of internet traffic or sending notices other
than by Rightscorp; and (3) technical and business information of Rightscorp or MarkMonitor, or
other third parties that is not within the possession, custody, or control of RIAA and/or that is
obtainable more readily and with more detail and accuracy from those third-party entities RIAA
further objects to this Request as seeking information protected by the attorney-client privilege the
work product doctrine the common-interest privilege and any other applicable privilege or
protection from disclosure RIAA also incorporates by reference its Objections and Responses to
Attachment B - Definitions and lnstructions

Subject to and without waiving these objections, RIAA will produce relevant, non-privileged

documents responsive to this Request relating to Rightscorp, to the extent such documents exist, are

in RIAA’s possession custody or control, and are located after a reasonably diligent search.

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REOUEST FOR PRODUCTION NO. 5:
Documents that refer, relate to, or constitute marketing materials business plans whitepapers
product manuals and specifications and other materials that describe the features functionality,
capabilities and operation of the Rightscorp System, or the MarkMonitor System, or similar systems
that purport to monitor and extract information from Peer-to-Peer file sharing networks as well as
send notices of alleged infringement to internet services providers
RESPONSE: RIAA objects to this Request as overbroad, not relevant and not proportional to the
needs of the case and thus exceeding the scope of discoverable matters under Federal Rule of Civil
Procedure 26. In particular, RIAA objects to this Request to the extent it seeks documents relating
to (l) third parties’ activities not related to infringement of Plaintiffs’ copyrights by Grande or
Patriot, or by Grande’s customers or users; (2) monitoring of internet traffic or sending notices other
than by Rightscorp; and (3) technical and business information of Rightscorp or MarkMonitor, or
other third parties that is not within the possession, custody, or control of RIAA and/or that is
obtainable more readily and with more detail and accuracy from those third-party entities RIAA
further objects to this Request as seeking information protected by the attorney-client privilege the
work product doctrine the common-interest privilege and any other applicable privilege or
protection from disclosure RIAA also incorporates by reference its Objections and Responses to
Attachment B _ Definitions and lnstructions.

Subject to and without waiving these objections RIAA will produce relevant, non-privileged
documents responsive to this Request relating to Rightscorp’s detection of copyright infringement
by, or sending copyright infringement notices to, Grande Patriot, or Grande’s subscribers or users

to the extent such documents exist, are in RIAA’s possession custody or control, and are located

after a reasonably diligent search.

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REOUEST FOR PRODUCTION NO. 6:

Documents that refer or relate to negative feedback or criticism of the Rightscorp System, the
MarkMonitor System, and/or similar systems that purport to monitor and extract information from
Peer-to-Peer file sharing networks

RESPONSE: RIAA objects to this Request as overbroad, not relevant and not proportional to the
needs of the case and thus exceeding the scope of discoverable matters under Federal Rule of Civil
Procedure 26. In particular, RIAA objects to this Request to the extent it seeks documents relating
to (1) third parties’ activities not related to infringement of Plaintiffs’ copyrights by Grande or
Patriot, or by Grande’s customers or users; (2) monitoring of intemet traffic or sending notices other
than by Rightscorp; and (3) technical and business information of Rightscorp or MarkMonitor, or
other third parties that is not within the possession, custody, or control of RIAA and/or that is
obtainable more readily and with more detail and accuracy from those third-party entities RIAA
further objects to this Request as seeking information protected by the attorney-client privilege the
Work product doctrine the common-interest privilege and any other applicable privilege or
protection from disclosure RIAA also incorporates by reference its Objections and Responses to
Attachment B - Definitions and Instructions.

Subject to and without waiving these objections RIAA will produce relevant, non-privileged
documents responsive to this Request relating to Rightscorp’s detection of copyright infringement
by, sending copyright infringement notices to, Grande Patriot, or Grande’s subscribers or users to
the extent such documents exist, are in RlAA’s possession, custody or control, and are located after

a reasonably diligent search.

REOUEST FOR PRODUCTION NO. 7:

Documents that refer or relate to negative feedback or criticism of the Rightscorp Notices or
MarkMonitor Notices or other infringement notices sent to users of Peer-to-Peer file sharing
networks

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RESPONSE: RIAA objects to this Request as overbroad, not relevant and not proportional to the
needs of the case and thus exceeding the scope of discoverable matters under F ederal Rule of Civil
Procedure 26. In particular, RIAA objects to this Request to the extent it seeks documents relating
to (l) third parties’ activities not related to infringement of Plaintiffs’ copyrights by Grande or
Patriot, or by Grande’s customers or users; (2) monitoring of internet traffic or sending notices other
than by Rightscorp; and (3) technical and business information of Rightscorp or MarkMonitor, or
other third parties that is not within the possession custody, or control of RIAA and/or that is
obtainable more readily and with more detail and accuracy from those third-party entities RIAA
further objects to this Request as seeking information protected by the attorney-client privilege the
work product doctrine the common-interest privilege and any other applicable privilege or
protection from disclosure RIAA also incorporates by reference its Objections and Responses to
Attachment B - Definitions and Instructions.

Subject to and without waiving these objections RIAA will produce relevant, non-privileged
documents responsive to this Request relating to Rightscorp’s detecting copyright infringement by,
or sending copyright infringement notices to, Grande Patriot, or Grande’s subscribers or users to
the extent such documents exist, are in RIAA’s possession custody or control, and are located after

a reasonably diligent search.

REOUEST FOR PRODUCTION NO. 8:

Documents that refer or relate to flaws weaknesses deficiencies inefficiencies errors lack or
absence of features or functionality, performance issues modifications or improvements needed, or
any other problem associated with the Rightscorp System, or the MarkMonitor System, or similar
systems that purport to monitor and extract information from Peer-to-Peer file sharing networks as
well as send notices of alleged infringement to intemet services providers

RESPONSE: RIAA objects to this Request as overbroad, not relevant and not proportional to the

needs of the case and thus exceeding the scope of discoverable matters under F ederal Rule of Civil

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Procedure 26. In particular, RIAA objects to this Request to the extent it seeks documents relating
to (l) third parties’ activities not related to infringement of Plaintiffs’ copyrights by Grande or
Patriot, or by Grande’s customers or users; (2) monitoring of intemet traffic or sending notices other
than by Rightscorp; and (3) technical and business information of Rightscorp or MarkMonitor, or
other third parties that is not within the possession custody, or control of RIAA and/or that is
obtainable more readily and with more detail and accuracy from those third-party entities RIAA
firrther objects to this Request as seeking information protected by the attorney-client privilege the
work product doctrine the common-interest privilege and any other applicable privilege or
protection from disclosure RIAA also incorporates by reference its ijections and Responses to
Attachment B - Definitions and Instructions.

Subject to and without waiving these objections, RIAA will produce relevant, non-privileged
documents responsive to this Request relating to Rightscorp’s detecting copyright infringement by,
or sending copyright infringement notices to, Grande Patriot, or Grande’s subscribers or users to
the extent such documents exist, are in RIAA’s possession, custody or control, and are located after

a reasonably diligent search.

REOUEST FOR PRODUCTION N(). 9:

Documents that refer or relate to actual, potential, or alleged problems limitations or fiaws
concerning the ability to detect specific instances of copyright infringement in the Rightscorp
System, or the MarkMonitor System, or similar systems that purport to monitor and extract
information from Peer-to-Peer file sharing networks as well as send notices of alleged infringement
to intemet services providers

RESPONSE: RIAA objects to this Request as overbroad, not relevant and not proportional to the
needs of the case and thus exceeding the scope of discoverable matters under Federal Rule of Civil

Procedure 26. ln particular, RlAA objects to this Request to the extent it seeks documents relating

to (l) third parties’ activities not related to infringement of Plaintiffs’ copyrights by Grande or

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Patriot, or by Grande’s customers or users; (2) monitoring of internet traffic or sending notices other
than by Rightscorp; and (3) technical and business information of Rightscorp or MarkMonitor, or
other third parties that is not within the possession custody, or control of RIAA and/or that is
obtainable more readily and with more detail and accuracy from those third-party entities RIAA
further objects to this Request as seeking information protected by the attorney-client privilege the
work product doctrine the common-interest privilege and any other applicable privilege or
protection from disclosure RIAA also incorporates by reference its Objections and Responses to
Attachment B - Definitions and lnstructions

Subject to and without waiving these objections RIAA will produce relevant, non-privileged
documents responsive to this Request relating to Rightscorp’s detecting copyright infringement by,
or sending notices of copyright infringement to, Grande Patriot, or Grande’s subscribers or users to
the extent such documents exist, are in RIAA’s possession custody or control, and are located after

a reasonably diligent search.

REOUEST FOR PRODUCTION NO. 10:

Documents that refer or relate to legal and/or factual issues deficiencies or inaccuracies identified
by ISPs regarding Rightscorp Notices MarkMonitor Notices or other infringement notices sent to
users of Peer-to-Peer file sharing networks

RESPONSE: RIAA objects to this Request as overbroad, not relevant and not proportional to the
needs of the case and thus exceeding the scope of discoverable matters under Federal Rule of Civil
Procedure 26. In particular, RIAA objects to this Request to the extent it seeks documents relating
to (l) third parties’ activities not related to infringement of Plaintiffs’ copyrights by Grande or
Patriot, or by Grande’s customers or users; (2) monitoring of internet traffic or sending notices other

than by Rightscorp; and (3) technical and business information of Rightscorp or MarkMonitor, or

other third parties that is not within the possession custody, or control of RIAA and/or that is

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obtainable more readily and with more detail and accuracy from those third-party entities RIAA
further objects to this Request as seeking information protected by the attorney-client privilege the
work product doctrine the common-interest privilege and any other applicable privilege or
protection from disclosure RIAA also incorporates by reference its Objections and Responses to
Attachment B - Definitions and lnstructions.

Subject to and without waiving these objections, RIAA will produce relevant, non-privileged
documents responsive to this Request relating to Rightscorp’s detecting copyright infringement by,
or sending notices of copyright infringement to, Grande Patriot, or Grande’s subscribers or users to
the extent such documents exist, are in RIAA’s possession, custody or control, and are located after

a reasonably diligent search.

REOUEST FOR PRODUCTION NO. 11:

Documents that refer or relate to legal and/or factual issues deficiencies or inaccuracies identified
by ISPs regarding the Rightscorp System, or the MarkMonitor System, or similar systems that
purport to monitor and extract information from Peer-to-Peer file sharing networks as well as send
notices of alleged infringement to intemet services providers

RESPONSE: RIAA objects to this Request as overbroad, not relevant and not proportional to the
needs of the case and thus exceeding the scope of discoverable matters under F ederal Rule of Civil
Procedure 26. In particular, RIAA objects to this Request to the extent it seeks documents relating
to (l) third parties’ activities not related to infringement of Plaintiffs’ copyrights by Grande or
Patriot, or by Grande’s customers or users; (2) monitoring of internet traffic or sending notices other
than by Rightscorp; and (3) technical and business information of Rightscorp or MarkMonitor, or
other third parties that is not within the possession custody, or control of RIAA and/or that is
obtainable more readily and with more detail and accuracy from those third-party entities RIAA
further objects to this Request as seeking information protected by the attorney-client privilege the

work product doctrine the common-interest privilege and any other applicable privilege or

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protection from disclosure RIAA also incorporates by reference its Objections and Responses to
Attachment B - Definitions and Instructions.

Subject to and without waiving these objections RIAA will produce relevant, non-privileged
documents responsive to this Request relating to Rightscorp’s detecting copyright infringement by,
or sending notices of copyright infringement to, Grande Patriot, or Grande’s subscribers or users to
the extent such documents exist, are in RIAA’s possession custody or control, and are located after

a reasonably diligent search.

REOUEST FOR PRODUCTION NO. 12:

Documents that refer or relate to efforts or actions taken by Rightscorp to address or remedy any
inaccuracies or deficiencies associated with the Rightscorp System or Rightscorp Notices

RESPONSE: RIAA objects to this Request as overbroad, not relevant and not proportional to the
needs of the case and thus exceeding the scope of discoverable matters under Federal Rule of Civil
Procedure 26. In particular, RIAA objects to this Request to the extent it seeks documents relating
to (l) third parties’ activities not related to infringement of Plaintiffs’ copyrights by Grande or
Patriot, or by Grande’s customers or users and (2) technical and business information of Rightscorp
that is not within the possession custody, or control of RIAA and/or that is obtainable more readily
and with more detail and accuracy from Rightscorp. RlAA further objects to this Request as
seeking information protected by the attorney-client privilege the work product doctrine the
common-interest privilege and any other applicable privilege or protection from disclosure RLAA
also incorporates by reference its Objections and Responses to Attachment B - Definitions and
Instructions.

Subject to and without waiving these objections RIAA will produce relevant, non-privileged
documents responsive to this Request relating to Rightscorp’s detecting copyright infringement by,
or sending notices of copyright infringement to, Grande Patriot, or Grande’s subscribers or users to

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the extent such documents exist, are in RIAA’s possession custody or control, and are located after

a reasonably diligent search.

REOUEST FOR PRODUCTION NO. 13:

Documents that refer or relate to efforts or actions taken by MarkMonitor to address or remedy any
inaccuracies or deficiencies associated with the MarkMonitor System or MarkMonitor Notices

RESPONSE: RIAA objects to this Request as overbroad, not relevant and not proportional to the
needs of the case and thus exceeding the scope of discoverable matters under Federal Rule of Civil
Procedure 26. In particular, RIAA objects to this Request to the extent it seeks documents relating
to (l) third parties’ activities not related to infringement of Plaintiffs’ copyrights by Grande or
Patriot, or by Grande’s customers or users; (2) monitoring of internet traffic or sending notices other
than by Rightscorp; and (3) technical and business information of MarkMonitor that is not within
the possession, custody, or control of RIAA and/or that is obtainable more readily and with more
detail and accuracy from MarkMonitor. RIAA further objects to this Request as seeking
information protected by the attorney-client privilege the work product doctrine the common-
interest privilege and any other applicable privilege or protection from disclosure RIAA also
incorporates by reference its Objections and Responses to Attachment B - Definitions and
Instructions.

In light of these objections RlAA will not produce documents responsive to this Request.

REQUEST FOR PRODUCTION NO. 14:

Documents reflecting communications between the RIAA and Rightscorp regarding Grande
RESPONSE: RIAA objects to this Request as overbroad, not relevant and not proportional to the
needs of the case and thus exceeding the scope of discoverable matters under Federal Rule of Civil
Procedure 26. RIAA further objects to this Request as seeking information protected by the

attorney-client privilege the work product doctrine the common-interest privilege and any other

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applicable privilege or protection from disclosure In particular, RlAA objects to this Request on
the ground that documents and information responsive to this Request will overwhelmingly, and
possibly entirely, be protected from disclosure on privilege and work product grounds and therefore
it is unduly burdensome and harassing to require RIAA, which is not a party to this litigation to
search for documents responsive to this Request. RIAA also incorporates by reference its
Objections and Responses to Attachment B - Definitions and Instructions.

Subject to and without waiving these objections RIAA will produce relevant, non-privileged
documents responsive to this Request, to the extent such documents exist, are in RIAA’s possession,

custody or control, and are located after a reasonably diligent search.

REOUEST FOR PRODUCTION NO. 15:

Documents reflecting communications between the RIAA and MarkMonitor regarding Grande
RESPONSE: RIAA objects to this Request as overbroad, not relevant and not proportional to the
needs of the case and thus exceeding the scope of discoverable matters under Federal Rule of Civil
Procedure 26. In particular, RIAA objects to this Request to the extent it seeks documents relating
to monitoring of intemet traffic or sending notices other than by Rightscorp, RIAA harther objects
to this Request as seeking information protected by the attorney-client privilege the work product
doctrine the common-interest privilege and any other applicable privilege or protection from
disclosure RIAA also incorporates by reference its Objections and Responses to Attachment B -
Definitions and Instructions. In light of these objections RIAA will not produce documents

responsive to this Request.

REOUEST FOR PRODUCTION NO. 16:

Documents reflecting communications between the RIAA and any third-party (i.e., not a Plaintiff)
regarding Grande

RESPONSE: RIAA objects to this Request as overbroad, not relevant and not proportional to the
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needs of the case and thus exceeding the scope of discoverable matters under Federal Rule of Civil
Procedure 26. In particular, RIAA objects to this Request to the extent it seeks documents relating
to monitoring of internet traffic or sending notices other than by Rightscorp, RIAA harther objects
to this Request as seeking information protected by the attorney-client privilege the work product
doctrine the common-interest privilege and any other applicable privilege or protection from
disclosure RIAA also incorporates by reference its Objections and Responses to Attachment B -
Definitions and Instructions.

Subject to and without waiving these objections RIAA will produce relevant, non-privileged
documents reflecting communications with Rightscorp responsive to this Request, to the extent such
documents exist, are in RIAA’s possession custody or control, and are located after a reasonably

diligent search.

REOUEST FOR PRODUCTION NO. 17:

Documents reflecting RIAA’s engagement of Rightscorp, including communications and
negotiations with Rightscorp,

RESPONSE: RIAA objects to this Request as overbroad, not relevant and not proportional to the
needs of the case and thus exceeding the scope of discoverable matters under Federal Rule of Civil
Procedure 26. RIAA further objects to this Request as seeking information protected by the
attorney-client privilege the work product doctrine the common-interest privilege and any other
applicable privilege or protection from disclosure In particular, RIAA objects to this Request on
the ground that documents and information responsive to this Request will overwhelmingly, and
possibly entirely, be protected from disclosure on privilege and work product grounds and therefore
it is unduly burdensome and harassing to require RIAA, which is not a party to this litigation to
search for documents responsive to this Request. RlAA also incorporates by reference its
Objections and Responses to Attachment B - Definitions and Instructions.

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Subject to and without waiving these objections RLAA will produce relevant, non-privileged
documents responsive to this Request, to the extent such documents exist, are in RIAA’s possession,

custody or control, and are located after a reasonably diligent search.

REQUEST FOR PRODUCTION NO. 18:

Documents reflecting RIAA’s communications regarding Rightscorp’s technology, including
internal communications and external communications

RESPONSE: RlAA objects to this Request as overbroad, not relevant and not proportional to the
needs of the case and thus exceeding the scope of discoverable matters under F ederal Rule of Civil
Procedure 26. In particular, RMA objects to this Request to the extent it seeks documents relating
to (l) third parties’ activities not related to infringement of Plaintiffs’ copyrights by Grande or
Patriot, or by Grande’s customers or users and (2) technical and business information of Rightscorp
that is not within the possession custody, or control of RIAA and/or that is obtainable more readily
and with more detail and accuracy from Rightscorp, RIAA further objects to this Request as
seeking information protected by the attorney-client privilege the work product doctrine the
common-interest privilege and any other applicable privilege or protection from disclosure RIAA
also incorporates by reference its Obj ections and Responses to Attachment B - Definitions and
Instructions.

Subject to and without waiving these objections RIAA will produce relevant, non-privileged
documents responsive to this Request, to the extent such documents exist, are in RIAA’s possession

custody or control, and are located after a reasonably diligent search.

REOUEST FOR PRODUCTION NO. 19:
Documents reflecting all payments or consideration paid by or on behalf of the RIAA to Rightscorp
RESPONSE: RIAA objects to this Request as overbroad, not relevant and not proportional to the

needs of the case and thus exceeding the scope of discoverable matters under Federal Rule of Civil

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Procedure 26. RIAA further objects to this Request as seeking information protected by the
attorney-client privilege the work product doctrine the common-interest privilege and any other
applicable privilege or protection from disclosure In particular, RIAA objects to this Request on
the ground that documents and information responsive to this Request will overwhelmingly, and
possibly entirely, be protected from disclosure on privilege and work product grounds and therefore
it is unduly burdensome and harassing to require RIAA, which is not a party to this litigation to
search for documents responsive to this Request. RIAA also incorporates by reference its
Objections and Responses to Attachment B - Definitions and Instructions.

Subject to and without waiving these objections RIAA will produce relevant, non-privileged
documents responsive to this Request relating to the claims in this lawsuit against Grande to the
extent such documents exist, are in RIAA’s possession custody or control, and are located after a

reasonably diligent search.

Dated: April 23, 2018 Respectfully submitted,

By: /s/ Robert B, Gilmore

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Jonathan E. Missner (admitted pro hac vice)
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Attorneysfor Non-Panfy Respondent RIAA

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§§ERTIFI§§ATE OF SERVIQE

It is hereby certified that a true copy of the foregoing was served via Electronic Mail
on the 23rd day of April, 2018, upon counsel of record.

Dated: April 23, 2018

/s/ Robert B. Gilmore

